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                                    #:897




                            EXHIBIT 1
Case 2:16-cv-02106-PSG-SS                      Document 40-1
                                                       #:898         1 1 1 1 1 1 1 1 1 1 1 1 1 g101p911111111111111111111111
                                                                                         Filed 09/02/16                Page 2 of 20 Page ID



    (12)   United States Patent                                                     (lo) Patent No.:     US 9,300,792 B2
           Gonen et al.                                                             (45) Date of Patent:    *Mar. 29, 2016

    (54)   REGISTRATION, VERIFICATION AND                                                              15/858 (2013.01); H04W 4/14 (2013.01);
           NOTIFICATION SYSTEM                                                                            HO4W 12/06 (2013.01); HO4W 12/10
    (71) Applicant: TcicSign Corporation, Marina Del Rey,                                             (2013.01); H04W 60/00 (2013.01); HO4W
                    CA (US)                                                                                                  68/00 (2013.01);
    (72) Inventors: Shlomo Gonen, Calabasas, CA (US);                                                       (Continued)
                    Jonathan A. Gonen, Calabasas, CA                             (58)    Field of Classification Search
                    (US); Alon Gonen, Haifa (IL); Danny                                  None
                    Rosen, Valley Village, CA (US)                                       See application file for complete search history.
    (73) Assignee: TeleSign Corporation, Marina del Rey,                         (56)                    References Cited
                    CA (US)
    ( * ) Notice:   Subject to any disclaimer, the term of this                                  U.S. PATENT DOCUMENTS
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by 0 days.                                            4,782,519 A      11/1988 Patel et al.
                                                                                        5,881,226 A       3/1999 Veneklase
                      This patent is subject to a terminal dis-                                             (Continued)
                      claimer.
    (21)   Appl. No.: 14/678,815                                                              FOREIGN PATENT DOCUMENTS
    (22)   Filed:     Apr. 3, 2015
                                                                                 WO                9519593   7/1995
    (65)                 Prior Publication Data
                                                                                                   OTHER PUBLICATIONS
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                                                                                 "Final Office Action for U.S. Appl. No. 11/034,421, Mail Date Aug.
                  Related U.S. Application Data                                  25, 2006, 8 pages."
    (60) Continuation of application No. 14/584.852, filed on                                               (Continued)
          Dec. 29, 2014, now Pat. No. 9,049,286, which is a
          division of application No. 14/207,411, filed on Mar.                  Primary Examiner — Maria El-Zoobi
          12. 2014, now Pat. No. 9,106,738, which is a                           (74) Attorney, Agent, or Firm — Perkins Coie LLP
          continuation of application No. 13/915,589, filed on
          Jun. 11, 2013, now Pat. No. 8,687,038, which is a                      (57)                      ABSTRACT
          continuation of application No. 11/538,989, filed on                   A verification and notification system. The system receives
          Oct. 5, 2006, now Pat. No. 8,462,920, which is a                       information including a telephone number from a user during
          continuation-in-part of application No. 11/034,421,                    an attempt by the user to access a service. The telephone
          filed on Jan. 11, 2005, now abandoned.                                 number is verified by establishing a short message service
    (51) Int. Cl.                                                                (SMS) connection with the user using the received telephone
                                                                                 number, and receiving a submitted verification code entered
          HO4M 15/06              (2006.01)
                                                                                 by the user. The received information and verified telephone
          HO4M 3/38               (2006.01)
                                                                                 number are used to complete the registration process and
                             (Continued)                                         enable the user to access the service. Upon the occurrence of
    (52) U.S. Cl.                                                                a notification event, an indication of the occurrence of the
          CPC                HO4M 3/38 (2013.01); HO4L 63/08                     notification event is transmitted to the verified telephone
                    (2013.01); HO4L 63/0876 (2013.01); HO4M                      number. The system receives an acknowledgement of an
                       15/00 (2013.01); HO4M 15/70 (2013.01);                    action associated with the notification event from the user.
                         H04111 15/715 (2013.01); H04M 15/72
                     (2013.01); HO4M 15/721 (2013.01); HO4M                                     18 Claims, 10 Drawing Sheets




                                                                User
                                                               lops In




                                                        Users flues to Or Is
                                                        elle to erase a page
                                                            that requeeta
                                                        telephone verification




                                                        .44=Z7flon




                                                                                                                                                      Ex. 1 -
                                                                                                                                                      p. 041
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                                                             Page 2


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           CPC               H04M2215/7027 (2013.01); HO4M            2015/0088982 Al * 3/2015 Johnson                   HO4L 67/34
                         2215/7036 (2013.01); HO4M 2215/7045                                                                709/203
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                                                                                                                                          Ex. 1 -
                                                                                                                                          p. 042
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                                                                 100
                             End-User Begins
                            Verification Process


                                                        102

                                  User fills
                                  out form                                   104
                                                                           .\

                                                       •106      User does not
                                                                 completeforni
                                User receives
                             notification that they
                               did not complete
                            telephone verification


                                                      ---- 108

                                      User
                                      As n


                                                        110

                            User €s routed to or is
                            able to access a page
                                 that requests
                            telephone 'verification


                                                        112
                                                 /
                                User attempts
                             elephone verification
         FIG.




                                                                                              Ex. 1 -
                                                                                              p. 043
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                                        Verification
                                           Start

                                      Provide on-iine
                                     ,„gistration form
                                       on a web.-site
                                        to regi st ran t


                      202 -----,„          ....--...-- .
                                        "At least
                                              part ally                     istrant suppliea
                                        comp eking                           egistrant's
                                         ---gistration                     ,:phone number
                                                    form „.



                              t A verification syate,
                   206           telephone number
                                 zopiieci to Registrant



                                    Establish teiephonic
                                      nn e.0 ki ri between
                                       ,egiatrant and
                                    verificr- 'on system




                                          egistration
                                               de
                                       co mmumC
                                           reqistran
                                               7


                                             aeon code
                                            into on-line
                                           'on form, or
                                             Lion s?..,Stem


                                        Verification
                                             End




                                                                                                      Ex. 1 -
                                                                                                      p. 044
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                                                        ..............
                                                         Cation
                                                       start
                                                         ,,,

                                              User Os out an op-iine
                         300                  web registration and is
                                              prompted to enter his
                                                  :hone number


                                              User prompted to enter
                       302                       phone number and
                                             clicks "Ne.xt" to continl
                                             to complete registration
                                                                   ••••••• ,,,,,, •••••••

                                              User is advised that tile
                                              automated system will
                                              now call his telephone
                       3n4                      number entered for
                                              verification, or an SMS
                                                 will be sent to the
                                                 number entered

                                       306
                                                      Phone
                                                     rings or
                                                  SIMS message,"
                                                    received
                                                       N

                                                                                      l
                                              User answers the phone
                                               (or reads SMS), get a
                       '`l:•
                       s,
                         e\ A3                 greeting and a code to
                                              enter onto the "On-line-
                                               web Registration and
                                                  Verification" form
                                                     •




                                                       User \,                    N          Please try again
              —\   ;                              enters the cod                               (user alto ed
                                                     correctiy"                             = rimited attempts)



                                               .egistration is complete
                                 ...            uSer gets message:
                                              :You have been verif ed
                                                and can now log in"


                                                       iticatiOn
                                                        F„nd




                                                                                                                             Ex. 1 -
                                                                                                                             p. 045
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                                            Verification
                                               Start


                                       User Us outan on-line
                      40               web registration and is
                                        prompted to enter his
                                           phone number


                                       User given a 3 t* „ode.
                                       that needs to be entered
                      402                on the phone key pad
                                              when called

                                 404
                            No                 Phone
                                                rings

                                              Yes

                                           r answers the phones
                                             gets a greeting                   408
                                             and prompted:
                                          "Enter Code Now"

       406

             egistp:iticn                       User                      Please try again
                not                        enters the code                 (user allowed
             accepted                         correctly                  limited attempts).
                                                                 • 410               412

                                       Registration is compete
                                          user gets message:
                                       ::You have been verified          414
                                         and can now iog



                                            Viaritication
                                                End
             FIG. 4




                                                                                                       Ex. 1 -
                                                                                                       p. 046
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                                               Start

                                   User fills out an on-line
                                   web registration: enters
                                   his phone number and
                                     told that hr̀-. is now
                                  getting an SMS message


                                    The SMS prompts the
                    502            user to call a telephone
                                     number to receive a
                                 "Code" in order to complete
                                   the on-line registration


                                                             — 504
                                No              User
                                                calls

            506     Registration is
                    not accepted                 Yes

                                            User gets               508
                                             a code                                  512
                                                                   Please try. a
                                                                    (user aflawe
                                                                   invited attempt
                                                "Use.r •
                                              enters code
                                      (.‘..orrectly ntr) on-lin
                                           web registratio9/
                                                  form
                                                                  510
                                            Yes

                                  Registration is complete
                                    user gets message:                     514
                                  "You have been verified
                                    and can now log in"
                                               ------

                                          Verification
                                             End




                                                                                                     Ex. 1 -
                                                                                                     p. 047
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                                                         Verification
                                                           Start

                                                   User fills out an on-line
                                      60           web registration, enters
                                                   his phone number and
                                                      told that he is now
                                                  getting an SMS message


                                                     The SMS provides a.
                                                   "code" and prompts the
                                      602           user to call a telephone
                                                  number to enter the "Code'
                                                   hi order to complete the
                                                      on-ine registration



                                                                        $04
           $06       ,ictratinn                              user
                   not accepted                              calls
                                                                  V


                                                                        608
                             Please try again,
                                (user allowed
                            I limited attempts)
                                610                         Yes                612
                                                  Registration is complete..
                                                    User gets message:
                                                  "You have been verified
                                                    and can now to In'


                                                         Verificatio
                                                            Ehd




                                                                                               Ex. 1 -
                                                                                               p. 048
Case 2:16-cv-02106-PSG-SS        Document 40-1 Filed 09/02/16                          Page 10 of 20 Page
                                       ID #:906

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                                  =erhIcatIon
                                    Start


               700 •       User fills out an online
                           web registration and e
                                    N., • c.•. e•ete4c....




               702        User is prornp d to call
                          a telephone number to
                         complete verification now




                                        Yes                                     Registration isl
                                                                                not accepted

                 708 —      User gets a greeting                          706
                              and prompted:
                            "Enter .;ode Now"

                                                                                2

                                    User                           S       try El in
                             -"enters the code                       (user a owed
                                  correc.%v                        limited attempts)



                           Registration s complete
                             user gets M ezyzw.111) e .
                            VOU have been verified
                             and can now


                                 Verification
                                    End




                                                                                                            Ex. 1 -
                                                                                                            p. 049
Case 2:16-cv-02106-PSG-SS        Document 40-1 Filed 09/02/16              Page 11 of 20 Page
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                                       Verification
                                          Start.


                                 User .filla out an dn-line
                                web registation, prompter
                                   to call a telephone
                                number, receive a "Code
                                  in order to complete
                                 the on-line registration


                                $02

                                           User
                                           calls

                   r
           804 -       Nistration is
                       of accepted          Yes

                                         User gets                           10
                                          e code.                     I

                                                              Please try ageh,
                                                                     ailowed
                                                              imited attemp

                                           User
                                      enters code
                                   conectly into on-ii.ne
                                     web registration
                                           form


                                            Yes

                                   egistration is complete.
                                    user gets message:          812
                                  'You have been verified
                                    and can now log in"



                                  P-- Verification
                                           End




                                                                                                Ex. 1 -
                                                                                                p. 050
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                                        ID #:908

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                                (_....6.;;;..R
                                             ....e
                                                 s.......
                                                    g;;;;;_

                                       for an Amount

                                                                 902

                                     During Fsj., :aton,
                                    user enters k,:ephone
                                    numbers where heishe
                                       can be reacnee
                                                               — 904

                                        Phone numbers
                                         are stored in
                                        user's account
     906                                                         908                    —910

              User Fogs                User attempts to                User attempts
            into account              make a transaction               modify account
                                                                         information



                                      User is required to
                                      become teleph one
                                           verified
                                                                 912

                                      User must receive
                                     erirication call at one
                                    of the phone numbers
                                       previously stored
                                           ri aCCOU

                                                                 914
     918
                                              User               91$
           Repeat attempt
           to phone verify                 COmpekes
           a finite number                     i:one
               of times                    verification


                                                  Yes            920
                                    ref Process
                                           completed
                                                                            H.




                                                                                                  Ex. 1 -
                                                                                                  p. 051
Case 2:16-cv-02106-PSG-SS           Document 40-1 Filed 09/02/16                 Page 13 of 20 Page
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                                    Verification Ca
                                       initiated
                                                                  1000

                                           User •               002
                                       needs to be
                                       reached at
                                        .extensi.o
                                             12
                                              YeS

                                                          1008                    1008
                                        Operator
                                          will            Yes
                                                                         Call picked up
                                        answer
                                         phone


                       10 2 -
                                                                             Automated
                                                                          message pla.ys
                                      Cali picked up                      requesting that
                                                                         call be transfered
                                                                        touser's extension

                        1014        Extension .dia led                                    1010
                                    including pause;
                                    pound (#), stern:
                                           etc.



                                      Verification
                                    message played



                                     EndUser enters
                                   PIN number given in
                                   verification message
                                        into website             1016


                                                          /018
         End-User may                    Correct
                                                                        FIG .10
        retry verification                PIN
         a finite number                 number
             of times
         1020
                                                            1022




                                                                                                      Ex. 1 -
                                                                                                      p. 052
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                                                          US 9,300,792 B2
                                                                                                          2
           REGISTRATION, VERIFICATION AND                           business may wish to notify a consumer when more than five
                NOTIFICATION SYSTEM                                 transactions post to a consumer's account within twenty-four
                                                                    hours. When credit cards, account numbers, and the like are
              CROSS-REFERENCE TO RELATED                            stolen, these accounts are quickly drained of cash or credit
                         APPLICATION(S)                          5 over a short period of time. This can be largely avoided by
                                                                    notifying the account owner of these acts or even seeking his
      This application is a continuation application of U.S.        or her authorization before permitting such transactions to
   patent application Ser. No. 14/584,852, entitled -REGIS-         occur. Of course, this limits the financial liability for both the
   TRATION, VERIFICATION AND NOTIFICATION SYS-                      bank, as well as the consumer. There are other instances when
   TEM", filed Dec. 29, 2014, which is a divisional application to such notification can be helpful, such as being alerted to when
   of U.S. patent application Ser. No. 14/207,411, entitled         a teenage son or daughter charges more than $500.00 on their
   "REGISTRATION, VERIFICATION AND NOTIFICA-                        credit card, when automatic deposits occur, etc. There are also
   TION SYSTEM", filed Mar. 12, 2014, which is a continua-          instances which are not financially based in which notifica-
   tion application of U.S. patent application Ser. No. 13/915,     tion could benefit both the consumer as well as the business.
   589 (now U.S. Pat. No. 8,687,038), entitled 15 For example, the consumer may want to be alerted to news
   "REGISTRATION, VERIFICATION AND NOTIFICA-                        information, updated sports scores, etc.
   TION SYSTEM", filed Jun. 11, 2013, which is a continuation          Accordingly, there is a continuing need for a method of
   application of U.S. patent application Ser. No. 11/538,989       verifying a registrant's identity, such as through the regis-
   (now U.S. Pat. No. 8,462,920), entitled "REGISTRATION,           trant's telephone number. There is also a continuing need for
   VERIFICATION AND NOTIFICATION SYSTEM", filed 20 a method to notify a registrant, such as through the regis-
   Oct. 5, 2006, which is a continuation-in-part of U.S. patent     trant's telephone number. of events which are established
   application Ser. No. 11/034,421, entitled "ON-LINE               either by the individual registrant or the company through
   AUTHENTICATION REGISTRATION SYSTEM", filed                       which the registrant is conducting services. The present
   Jan. 11, 2005, all of which are incorporated herein by refer-    invention fulfills these needs and provides other related
   ence in their entireties.                                     25 advantages.


                          BACKGROUND                                                                SUMMARY

      The present invention generally relates to on-line or web-            The present invention resides in a process for verifying the
   site registration. More particularly, the present invention 30 identity of a registrant, as well as using the registration infor-
   relates to a process for verifying an on-line registration by a       mation to notify the registrant of events that are either estab-
   telephone connection separate from the on-line connection             lished by the registrant or the business through which the
   between the web-site and potential registrant. The present            registrant has registered. Generally, the process comprises
   invention also relates to a process for notifying registrants of      providing a registration form to a registrant, who at least
   predetermined events using information obtained during the 35 partially completes the registration form. At least one regis-
   registration process.                                                 tration electronic contact is provided by the registrant. The
      With the increasing popularity of the Internet, and web-site       registrant is then verified, such as by establishing a connec-
   surfing and usage, both commercial and personal, it has               tion with the registrant vis a vis at least one registrant contact.
   become increasingly popular to require users to register at the       A verification code is then communicated to the registrant.
   web-site in order to obtain information from the web-site, 40 The verification code is then input by the registrant into an
   order goods through the web-site, etc. In some instances, the         on-line form or a telephone verification system.
   owners of the web-site wish to use the registration informa-             In a particularly preferred embodiment, the registration
   tion to selectively target promotions, advertisements, etc. to        form is provided in a web-site. The registrant is informed via
   the registrant and thus get a secondary gain in addition to           the web-site that an electronic message is being sent to the
   having the registrant visit the web-site or use the services 45 registrant via the electronic contact, which is typically a tele-
   provided through the web-site. In other instances, the regis-         phone number. The electronic message may comprise a short
   trant's registration information is not used whatsoever, but          message service (SMS) message received by registrant's tele-
   instead, the registration information is kept completely con-         phone, or a voice message. The electronic message includes
   fidential and is used only for the purposes of allowing the           either the verification code or a verification system telephone
   registrant to enter the web-site and obtain information or so number for the registrant to call to receive the verification
   goods and services through the web-site.                              code. Although the system typically establishes a telephonic
      Authentication is fundamental to every Internet transac-           connection with the registrant via the registrant's telephone
   tion. Individuals and businesses who wish to engage in trade          number, the invention contemplates providing a system tele-
   on-line must authenticate themselves by reliably establishing         phone number for the registrant to call to obtain this informa-
   their identity, and presenting credentials as proof of that iden- 55 tion. The verification code is then input by telephone using
   tity. However, when doing business on the Internet, potential         voice or keypad entry, or entered into a form on the web-site.
   registrants often register with untraceable or false e-mail              During the registration and verification process, the infor-
   addresses and phone numbers. This can compromise the                  mation provided by the registrant in the registration form may
   intended purpose of the registration, create a breach of secu-        be compared to a database containing personally identifying
   rity and constitute fraud on the web-site owners.                  60 information. For example, su ch personal identifying informa-
      Aside from Internet transactions, individuals and busi-            tion can include registrant's names, telephone numbers,
   nesses may wish to have a notification procedure in place. For        addresses, e-mail addresses, social security numbers, etc., to
   example, to prevent fraud or identity theft, either the business      verify and authenticate that the registrant is who he or she
   or individual may wish to be alerted to certain events. For           represents themselves to be.
   example, a consumer may wish to be notified every time a 65              After registration, notification events are established.
   withdrawal or more than one thousand dollars is requested             Establishing the notification events can be done by either the
   from his checking account, or charged to his credit card. A           registrant and/or the business or other third party utilizing the




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   system and process of the present invention. Such notification          FIG. 10 is a flow chart depicting the steps taken in accor-
   events may comprise a news event, or a request to access or          dance with the present invention when the registrant is not
   alter registrant's account. For example, registrant's account        contacted directly, but through an operator or automated mes-
   may comprise a financial account. Upon the occurrence of a           sage system.
   previously established notification event, the registrant is 5
   notified by establishing a connection with the registrant, typi-                       DETAILED DESCRIPTION
   cally by contacting the registrant through a telephonic con-
   nection with the registrant via at least one registrant telephone       As shown in the accompanying drawings, for purposes of
   number provided by the registrant during the registration            illustration, the present invention resides in a process for
                                                                     10 verifying the identity of a registrant, and utilizing the verifi-
   process.
      The system of the present invention is designed so as to          cation and/or registration information to notify the registrant
   detect an answering machine message, and delay a predeter-           of predetermined events established by either the registrant or
   mined amount of time before playing an automated message             the business.
   concerning the notification. If this occurs during the registra- 15     In a particularly preferred embodiment, as illustrated in
   tion process, or a reverification process, the automated mes-        FIG. 1, the registration process involves an on-line registra-
   sage includes the verification code.                                 tion form accessed through a web-site. However, it will be
      If the telephone number provided by the registrant is not a       appreciated by those skilled in the art that the registration
   direct-line number, or is a PBX number, the registrant during        form nor process need involve an on-line form. The verifica-
   the registration process indicates that the telephone number 20 tion and notification processes, as will be more fully
   requires an extension and whether a live operator will answer        described herein, could be achieved through other registra-
   a call. In the event that a live operator answers the call, an       tion forms, such as a handwritten form. The registrant is
   automated message is played directing the live operator to           contacted via an electronic contact, such as a telephone num-
   dial the extension of the registrant. Afterwards, a pause for a      ber. One premise of the present invention is that it is difficult
   predetermined amount of time occurs before an automated 25 to filter, stop, or penetrate a telephonic voice call, whereas
   message is played which includes either the verification code        other means of communication, including, but not limited to,
   or notifying the registrant of the occurrence of a preestab-         text messaging, e-mail, etc., can be intercepted, stopped,
   lished event. However, if a live operator does not answer the        automatically filtered, trashed, or deleted by a third party.
   call, after a pause, the extension is automatically dialed. After       As used herein, a registrant or user is one filling out the
   another pause, an automated message is played, including 30 registration form in order to register with the web-site or
   either the verification code or notification of the occurrence of    business. The registrant is typically a consumer, which can be
   the event.                                                           an individual, but can also be companies, organizations, gov-
      The registrant may be required to reverify, as described          ernments, etc. Typically, the registrant is registering with
   above, before permitting access or alteration of the regis-          another business, which may also comprise an individual,
   trant's account or receiving notification of the occurrence of 35 company, or organization or government. For example, the
   the preestablished event. The registrant may be charged for          registrant or consumer could be an individual attempting to
   the notification.                                                    access a web-site and set up an account with a financial
      Other features and advantages of the present invention will       institution. The various identities, types and the like of the
   become apparent from the following more detailed descrip-            consumer and business are varied, as is the purpose of regis-
   tion, taken in conjunction with the accompanying drawings 40 tration and verification.
   which illustrate. by way of example, the principles of the              As illustrated in FIG. 1, the end-user or registrant begins
   invention.                                                           the verification process (100), by filling out a form (102).
                                                                        Typically, this form is provided at a web-site. If the user does
           BRIEF DESCRIPTION OF THE DRAWINGS                            not complete the form (104), the user receives notification
                                                                     45 that they did not complete telephone verification (106). How-
      The accompanying drawings illustrate the invention. In            ever, if the user does fill out the form, he or she is allowed to
   such drawings:                                                       log in (108). The user is routed to, or is able to access, a page
      FIG. 1 is a flow chart depicting the general steps taken in       that requests telephone verification (110). The user then
   accordance with the verification process of the present inven-       attempts telephone verification (112), as will be more fully
   tion;                                                             50 described herein.
      FIG. 2 is another flow chart depicting the steps of the              With reference to FIG. 2, in one registration embodiment,
   verification process of the present invention;                       an on-line registration form is provided to a potential regis-
      FIG. 3 is a flow chart depicting the steps of one embodi-         trant at a web-site (200) i.e., a first communication connec-
   ment of the present invention;                                       tion. The registrant at least partially completes a portion of the
      FIG. 4 is a flow chart depicting the steps taken in another 55 registration form (202). At the web-site, the registrant is
   embodiment of the present invention;                                 prompted to supply his telephone number (204), or a verifi-
      FIG. 5 is a flow chart depicting the steps taken in yet           cation system telephone number is supplied to the registrant
   another embodiment of the present invention;                         and the registrant is prompted to call this number (206). A
      FIG. 6 is a flow chart depicting the steps taken in still         telephonic connection, i.e., a second communication connec-
   another embodiment of the present invention;                      60 tion, is established between the registrant and the verification
      FIG. 7 is a flow chart depicting the steps taken in another       system (208). During the registration process, a registration
   embodiment of the present invention;                                 code is communicated to the registrant (210), i.e., through the
      FIG. 8 is a flow chart depicting the steps in yet another         second communication connection. The registration code is
   embodiment of the present invention;                                 then input into the on-line registration form, or otherwise at
      FIG. 9 is a flow chart depicting the steps taken in accor- 65 the web-site, i.e., through the first communication connection
   dance with the present invention for registering and verifying       (212). The verification and authentication is completed and
   a registrant as a prelude to notification; and                       the user is allowed to log into the web-site.




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      As described above, a present problem with on-line regis-           However, if the phone rings and a telephonic connection is
   trations is that the registrant often registers with untraceable    established, the registrant answers the phone and gets a greet-
   and false e-mail addresses and telephone numbers. The               Mg which includes a prompting to enter the registration code
   present invention provides a process for verifying an on-line       obtained at the web-site (408) through the telephone connec-
   registration, or at least the true identity of the registrant's 5 tion. The registrant is then given the opportunity to enter the
   telephone number so as to provide an additional layer of            registration code by telephone (410), such as by speaking into
   security and reduce fraud. Thus, the registrant receives the        the phone such that the verification system of the invention is
   registration code (210) through the telephone connection and        enabled with speech recognition software, or by entering the
   is required to input the registration code into the verification
                                                                       code via keypad or the like. If the registration code is not
   system (212) through the on-line registration form or other- 10
                                                                       entered correctly (412), the user or the registrant is given
   wise at the web-site. Not only does this method allow the user
                                                                       another opportunity to correctly enter the code. Preferably, as
   to be verified, but it also prevents fraud by requiring the
                                                                       described above, the registrant is given a limited number of
   registrant to enter the verification code back into the web-site
   connection where he/she completed the registration form             opportunities  to insert the registration code correctly, such as
   (202). In the event of consumer or potential registrant verifi- 15 two or three attempts, before the telephonic connection is
   cation failure, it is assumed that the registrant who is not        disconnected and the registrant must begin the registration
   verified through the verification system or through manual          process over again. This is primarily to conserve system
   means is fraudulent. Therefore. the business may elect to           resources. However, if the registrant correctly enters the code
   contact the consumer to determine why the consumer verifi-          via telephone, the registration is complete and the registrant
   cation failed. This contact may be completed by automated or 20 typically obtains a message such as "you have been verified
   manual means of communication between the business and              and can now log in" (414) or the like indicating that the
   the consumer, including, but not limited to, automatically          authentication and verification process has ended and that the
   generated e-mail, manually generated e-mail, manually or            registrant is given access to the web-site for the particular
   automatically generated telephone calls, text messaging, etc.       services for which registration was initiated.
      With reference now to FIG. 3, in another embodiment, the 25         With reference now to FIG. 5, in yet another process for
   verification process begins by the registrant at least partially    verifying an on-line registration embodying the present
   completing the on-line web registration form (300) on the           invention is shown. The registrant at least partially completes
   web site. At the web-site, the registrant is prompted to enter      an on-line web registration form and is prompted to enter his
   the registrant's telephone number (302). The registrant is          telephone number, on the web-site. Typically, in this embodi-
   advised that the automated system will now call his telephone 30 went, the registrant is informed at the web-site that he is now
   number in search for verification (304). If the phone does not      getting an electronic message. In a particularly preferred
   ring, indicating that the potential registrant has provided an      embodiment, the electronic message is a Short Message Ser-
   untraceable or false telephone number, the user is once again       vice (SMS) message which is a service for sending messages
   prompted to enter his telephone number (302). However, if           of up to a predetermined number of characters to mobile
   the phone rings and a connection is established between the 35 phones, such as those that use the Global System for Mobile
   registrant and a verification system (306), the registrant          (GSM) or CFMA communication to a telephone or the like.
   answers the telephone and obtains a greeting and a registra-        Although the electronic message can also comprise an e-mail
   tion code to enter into the on-line web-site registration and       message, instant message, page, or the like, SMS messages
   verification form (308). The registrant is then given the oppor-    are preferred as they do not require that the mobile phone be
   tunity to enter the registration code, typically a three digit ao active and within the range, and can be held for a number of
   code, into the on-line registration form (310) on the website.      days until the phone is active and within range. The SMS
   If the registrant does not correctly enter the code. the regis-     messages can be sent to digital phones from a web-site
   trant is given another opportunity to do so (312). Typically,       equipped with appropriate software and hardware such as PC
   the registrant will be given a limited number of attempts to        Link, or even from one digital phone to another.
   enter the registration code. This prevents potential registrants 45    After the registrant has at least partially filled out the on-
   from attempting to enter a registration code by trial and error     line web registration form. and entered his telephone number
   without providing the correct telephone number in order to          (500) on the web-site, the electronic message is sent to the
   obtain the correct registration code via telephone. However, if     registrant via telephone, prompting him to call a telephone
   the registrant enters the code correctly, the registration is       number to receive a registration code in order to complete the
   complete and the registrant obtains a message, such as "you so on-line registration (502). The registrant is then given the
   have been verified and can now log in" (314) or the like. The       opportunity to call the verification system (504). If the regis-
   registrant is then given access to the web-site or the services     trant does not. the registration is not accepted (506), and the
   of the web-site for which registration is required. The authen-     registration and verification process ends. However, if the
   tication and verification process is concluded.                     registrant calls the number given in the electronic message,
      With reference now to FIG. 4, yet another verification and 55 the registrant is communicated a registration code (508),
   authentication process embodying the present invention is           through the telephone connection. After obtaining the regis-
   illustrated. The registrant completes, at least partially. an       tration code, the registrant is given the opportunity to input
   on-line web registration form, and during the registration          the registration code correctly into the on-line web registra-
   process is prompted to enter his telephone number (400) on          tion form (510), through the web-site. If the registrant does
   the web-site. The registrant is then given, at the web-site, a so not correctly enter the registration code, the registrant is typi-
   registration code that needs to be entered by phone when the        cally given additional opportunities to do so again (512).
   registrant is called (402). A telephonic connection is then         Preferably, as described above, the registrant is allowed a
   established by calling the telephone number provided by the         limited number of attempts to correctly enter the registration
   registrant (404). If the phone does not ring and a telephonic       code. Typically, the registration code is short, such as three
   connection is not established, the registration is not accepted 65 characters, so as to provide hundreds if not thousands of
   (406), and the registrant may then be prompted again to             possible registration codes, but which is easy to write down
   register his telephone number (400).                                and remember when properly obtained.




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      If the registrant correctly enters the registration code into        the registration is complete and the registrant typically
   the on-line registration form at the web-site, registration is          obtains a message such as "you have been verified and can
   complete and the registrant typically obtains message such as           now log in" (714) so as to end the verification and authenti-
   "you have been verified and can now log in" (514), which                cation process. With the registration complete and the tele-
   ends the verification and authentication process and enables 5 phone number of the registrant verified, the registrant is given
   the registrant to access the web-site or services provided to           access to the web-site, or services offered through the web-
   the web-site for which registration is required.                        site for which registration was acquired.
      With reference now to FIG. 6, a similar process to that of              With reference now to FIG. 8, yet another embodiment of
   FIG. 5 is illustrated. In order to begin the verification and           the process of the present invention is shown wherein in order
   authentication process, the registrant is first presented an to to begin the registration and verification process, the regis-
   on-line registration form at the web-site, and during the reg-          trant at least partially fills out an on-line registration form at a
   istration process is prompted to enter his telephone number,            web-site. The registrant is prompted to call a telephone num-
   through the web-site. Preferably, the registrant is informed            ber of a verification system in order to receive a registration
   that he will be getting an electronic message shortly (600),            code in order to complete the on-line registration (800). The
   i.e., through the telephone. Similar to that described above, 15 verification system telephone number is provided to the reg-
   the message is preferably an SMS message, but can comprise              istrant at the web-site.
   other types of message services, such as e-mail messages,                  The registrant then calls the verification system telephone
   instant messaging, voice messaging, etc.                                number (802). If the registrant does not (804), the registration
      In this embodiment, the electronic message provides the              is not accepted and the registration process ends. However, if
   registrant a registration code and prompts the registrant to call 20 the registrant does call the given verification system tele-
   a verification system telephone number to enter the registra-           phone number, the registrant is given a registration code
   tion code in order to complete the on-line registration (602).          (806), through the telephone connection.
   The registrant is then given an opportunity to call the tele-              The registrant then uses the registration code communi-
   phone number (604). If the registrant does not call the tele-           cated by telephone and is given the opportunity to correctly
   phone number (606), the registration is unaccepted and the 25 enter the registration code into the on-line web registration
   registration process ends. However. if the registrant does call         form (808) at the web-site. If the registration code is not
   the telephone number provided in the electronic message, the            correctly entered, the registrant is typically given additional
   registrant is given the opportunity to enter the code correctly         attempts to correctly do so (810). However, these attempts are
   via telephone (608). This can occur in a variety of ways.               typically limited in number so as to prevent fraud as unscru-
   Typically, the system will be enabled with speech recognition 30 pulous registrants might attempt to randomly enter a registra-
   software or the like such that the registrant can simply speak          tion code into the registration form at the web-site in an
   the registration code into the telephone when calling the               attempt to gain access without actually calling the verification
   number. However, the system can also be devised such that               system telephone number. It will be appreciated that by call-
   the telephone keypad or the like is used to enter the previously        ing the verification system telephone number, the registrant's
   communicated registration code. If the registrant does not 35 telephone number can typically be obtained by caller identi-
   correctly enter the code (610), the registrant is typically given       fication or the like. If the registrant correctly enters the reg-
   a limited number of additional attempts to correctly enter the          istration code into the on-line registration form, registration is
   registration code. However, if the registrant correctly enters          completed and the registrant obtains a message, typically, to
   the registration code by telephone, registration is completed           the effect of "you have been verified and can now log in"
   and the registrant typically obtains a message such as "you ao (812), thus ending the verification and registration process.
   have been verified and can now log in" (612), thereby ending               Those skilled in the art will appreciate that in all of the
   the verification and authentication process and enabling the            previously described embodiments, a telephone connection is
   registrant to complete the registration process, log into the           established between the verification system and the potential
   web-site or obtain the necessary services that the registration         registrant in order to either obtain a registration code or to
   requires.                                                            45 input a registration code. This method of telephone verifica-
      With reference now to FIG. 7, yet another embodiment of              tion, in real-time, provides an additional layer of security, and
   the process of the present invention is shown. In order to              thereby reduces fraud. The system can be automated so as to
   initiate the registration, verification and authentication pro-         work twenty-four hours a day without the need to train
   cess, the registrant first at least partially completes or fills out    employees or have staff on hand in order to create the tele-
   an on-line web-site registration form, and is given a registra- so phone connection and complete registration.
   tion code at that time (700), through the web-site. The regis-             The verification system, particularly during a registration
   trant is prompted to call a telephone number provided at the            process, may be used in conjunction with third party data-
   web-site to complete the verification (702).                            bases which contain personally identifiable information
      The registrant is then given the opportunity to call the             about consumers. The information given by the consumer,
   verification system telephone number previously provided at 55 such as name, age, address, telephone number, social security
   the web-site (704). If the registrant does not call the telephone       number, etc., may be matched with this third party database to
   number, the registration is not accepted (706) and the regis-           ensure the integrity of the information and the identity of the
   tration process ends. However, if the registrant does call and          potential registrant. In such instances, the verification system
   establish a telephonic connection between himself and the               may compare the third party database with the provided infor-
   verification system, the registrant gets a greeting and is 60 mation before providing a verification code or placing a veri-
   prompted to "enter registration code now" (708) or the like.            fication call to the potential registrant.
      'the registrant then enters the registration code provided at           The present invention not only provides a method of veri-
   the web-site via telephone (710). If the registrant does so             fying a potential registrant, such as through his or her tele-
   incorrectly (712) the registrant is given additional opportuni-         phone number by establishing connection on-line with the
   ties to do so. However, such opportunities are usually limited, 65 registrant as well as via a telephone connection, it is also
   as described above. If the registrant does enter the code cor-          designed and configured so as to provide notifications, alerts,
   rectly, such as by voice or keypad entry using the telephone,           information, etc., as established by either the registrant or




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   business. Such notifications, alerts, etc., are achieved through   operator to dial the extension, the call is paused for a prede-
   the information provided by the registrant during the regis-       termined amount of time. Then, the verification message is
   tration process, typically via the registrant provided tele-       played (1004), which includes either the verification code
   phone number. However, it will be appreciated by those             and/or occurrence of the notification event.
   skilled in the art that other notification means are possible, 5      If an operator does not answer the phone, but rather is an
   such as via e-mail, text messaging, or the like.                   automated system, once the call is picked up (1012), the
      With reference now to FIG. 9, in one embodiment, a user         extension is automatically dialed, including any necessary
   registers for an account (900), such as by filling out a regis-    pauses, additional numbers, such as pound or star signs, etc.
   tration form, which can be done as described above. During         (1014). Upon reaching the user's telephone line or message
   the registration process, the user enters one or more telephone to machine, the verification message is played automatically
   numbers where he or she can be reached (902). Such numbers         (1004).
   are stored in the user's account (904), and can be used in the        In the instance where the verification message includes the
   verification process, as well as an alert or notification process. verification code or personal identification number (PIN), the
      For example, if the user logs into his or her account (906),    end user enters the PIN number given in the verification
   attempts to make a transaction (908), or attempts to modify 15 message into a web-site (1016). Of course, the user can also
   account information (910), the user may be notified or even        be asked to call a telephone number to enter the code, or even
   required to become telephone verified (912). This can be           enter the code while on the line with the system. The system
   established previously by the business, so as to prevent fraud     then determines whether the entered code is correct (1018)
   on the business, or by the user/registrant in order to protect his and, if not, the user is typically allowed to retry a finite
   or her identity and account status. For example, the process of 20 number of times (1020), as discussed above. However, if the
   the present invention can be used to thwart identity thieves       code is entered correctly, the process is completed (1022), and
   otherwise trying to make an unauthorized transaction, obtain       the user is verified either during the registration process, has
   personal identifying information or account information, or        confirmed receipt of the alert or information sought, or has
   modify account information to their benefit.                       authorized the transaction to occur.
      If a previously established event occurs, then the system 25       During the registration process, when the user or consumer
   will notify and/or verify the user. The user must receive a        fills out a form, but is not able to or chooses not to phone
   verification call at one of the phone numbers previously           verify using the verification system at the time of filling out
   stored in the account (914). That is, a telephonic connection      the form, the system will preferably allow the consumer to
   with the registrant is established, and an electronic message is   reverify at a later time using a method that may include, but is
   sent. Electronic message includes the verification code, or 30 not limited to. permitting the consumer to log into the web-
   provides means to obtain the verification code, such as a          site under the previous chosen user name, password, etc. The
   telephone number for the registrant to call to obtain the veri-    consumer's previously provided information, including
   fication code. The electronic message may comprise an elec-        address, telephone number, etc., will be stored in the system
   tronic message, such as a SMS (short message service) mes-         so the consumer does not need to reenter the information and
   sage received by registrant's telephone. Of course, the 35 can automatically be redirected to a page that will allow the
   message can comprise a voice message alerting the user of the      consumer to attempt verification. The consumer must then
   event. The user then completes the telephone verification          phone verify, as described above, before they are able to
   (916), such as by entering the verification code into a form in    access any area of the web-site that requires the user verifi-
   a web-site or via the user's telephone using voice or keypad       cation. Alternatively, an e-mail can be generated and sent to
   entry. This verifies the identity of the registrant/user, and ao the consumer when there is a verification failure. The e-mail
   provides confirmation of receipt of the information and,           will contain a link to a page on the business' website where
   where necessary, authorization for the event to occur, such as     the consumer may reattempt to phone verify. The consumer
   access to the account, etc. If the code is incorrectly entered     previously entered information. such as name, address, user
   into the web-site or by phone, repeat attempts are allowed, but    name, password, etc., will be stored in the business' system so
   typically only a finite number of times so as to prevent auto- 45 the consumer need not have to reenter this information. The
   mated dialers and the like from fraudulently entering an           consumer must then phone verify before they are able to
   access code (918). However, once the verification and autho-       access any area of the web-site that requires user verification.
   rization is completed, the process is complete (920).                 The verification system can be used at any point during a
      The system may be configured such so as to detect an            business transaction. For example, a merchant may verify a
   answering machine message, and delay a predetermined so user bethre allowing the user to reach a transaction page. The
   amount of time before playing an automated message. Typi-          merchant may also verify the user upon submission of a
   cally, however, during the registration process, the potential     transaction. or after a transaction has been submitted. The
   registrant/user indicates whether the provided telephone           merchant may verify after the transaction has been submitted
   numbers are a direct line telephone number, or an indirect         to prevent hindering the completion of the transaction. None-
   line, such as one answered by a receptionist or operator, or 55 theless, the verification system of the present invention is
   handled through an automated system, such as an PBX sys-           implemented in such a way as to make a fraudulent transac-
   tem.                                                               tion more difficult by requiring a fraudulent user to gain
      In such instance, when a verification call is initiated (1000), access through the registrant's phone. This method of fraud
   as illustrated in FIG. 10, the system determines whether the       prevention can be achieved, as indicated above, by collecting
   user needs to be reached at an extension (1002). If not, the 60 the consumer's phone numbers and storing these as part of the
   verification message is played once the telephone line is          consumer's account. The business may choose to not allow
   picked up (1004).                                                  the consumer to alter phone numbers associated with the
      However, if the user needs to be reached at an extension,       consumer's account after initially collecting the numbers
   the system then determines whether an operator will answer         from the consumer, or require a safeguard process such as
   the phone (1006). If so. when the call is picked up (1008), an 65 going through another registration process in order to add or
   automated message plays requesting that the call be trans-         change telephone numbers. Thus, when a consumer attempts
   ferred to the user's extension (1010). After directing the live    to make certain transactions, as specified by either the con-




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   sumer or the business, the consumer may be notified or alerted         The business may also elect to automatically or manually
   in a variety of way. For example, all the phone numbers on          require consumers to reverify after initial verification. This
   record may be called to alert or notify the consumer of the         reverification process may occur at times, including, but not
   transaction, or to verify a consumer's transaction. However, a      limited to, certain intervals of time, such as once every month.
   single phone number, such as a preferred phone number. may 5 This can be done in order to ensure the integrity of the infor-
   be set as the default number to call and alert or notify the        mation. For example, this may be used to verify that the
   consumer of the transaction. The consumer may be given the          consumer can still be reached at the given telephone number.
   opportunity to choose which phone number is called and set          This process may also occur when a consumer requests
                                                                       another consumer to be verified, or even if the consumer
   as the default number.
                                                                    10 chooses to be reverified at certain intervals, for example, to
      The alert/notification aspect of the present invention can be
                                                                       rest assured that the system is tracking their account.
   implemented in a wide variety of scenarios. For example,
                                                                          The business, under certain circumstances. may elect to
   with respect to ATM transactions, the business or consumer
                                                                       accumulate a database of verified members for use with vari-
   may wish the consumer to be informed of a transaction that          ous purposes. This database can comprise the third party
   meets certain qualifications, as previously set by the business 15 database described above which could be used during the
   or consumer. For example, the consumer may wish to be               registration process to verify or authenticate the identity of
   notified every time a withdrawal of more than one thousand          the potential registrants. Such a database may also be used for
   dollars is requested from his or her checking account. Or, the      marketing purposes, including, but not limited to, mass text
   business may wish to notify the consumer when more than             messaging, mass verbal messaging, mass verbal calls, or any
   five transactions post to the consumer's account within 20 other way of communicating with a consumer directly
   twenty-four hours. Other financial transactions can also be         through the telephone. This may be completed through auto-
   monitored and the consumer alerted. For example, with               mated systems, manual calling, or messaging.
   respect to credit card transactions, a consumer who is a parent        With the advent of the CAN-SPAM Act of August 2004. a
   may wish to be notified when the consumer's child makes a           disclaimer may be provided when a consumer uses the veri-
   purchase or more than amount specified by the business or 25 fication system that notifies the consumer that the business
   consumer. The business or consumer may wish to have a               may sent text message advertisements or notifications to the
   notification sent when the financial account is accessed, or        consumer's telephone unless he or she opts out. Once this
   sought to be altered in any way. The consumer may wish to be        permission is established, the business may then send com-
   alerted by the business when a bank transaction occurs that         mercial text messages at a time and quantity of its choosing
   meets certain qualifications. For example, a consumer may 30 until the consumer notifies the business that he or she wants to
   wish to be informed of his checking account balance every           opt out in accordance with the CANSPAM Act. Businesses
   Friday at noon, when automatic withdrawals or payments are          may use a community database of verified numbers to gen-
   made, etc.                                                          erate revenue by storing or selling numbers for third parties,
      The present invention is not limited to notifying a user of      as well as for their own use.
   events that occur with respect to a financial account. Instead, 35     Although several embodiments have been described in
   alerts or notifications can be given to the user for any reason.    detail for purposes of illustration, various modifications may
   For example, the time of delivery of an item to the consumer        be made without departing from the scope and spirit of the
   can be automated in such a fashion. Sports scores or other user     invention. Accordingly, the invention is not be limited, except
   information can be relayed to the user as dictated by the           as by the appended claims.
   business or user. The user may be informed of airline flight ao        We claim:
   changes, traffic conditions, weather conditions, change in             1. A verification and notification method implemented by a
   stock markets, status of credit reports, etc.                       computing system, the method comprising:
      The verification can be imposed either by the business or           receiving, from a user, information via a computing inter-
   consumer. The business may allow the consumer to "opt-in"                 face presented to the user as a result of an attempt by the
   to the system and charge the consumer each time the verifi- 45            user to access a service, the received information includ-
   cation system is used. This creates a new string of revenue for           ing a telephone number associated with the user;
   the business. However, this also provides a service to the             verifying the telephone number by:
   consumer. In certain circumstances, the business may require              establishing a short message service (SMS) connection
   the user to use the verification system. and charge the con-                 with the user using the received telephone number;
   sumer each time the verification system is used. This can be 50           communicating a verification code to the user through
   done, for example, to protect the business from financial                    the SMS connection;
   losses due to identity theft, account information misappro-               receiving, via the computing interface, a submitted veri-
   priation, etc. For example, a credit card company may require                fication code that is entered by the user; and
   that cardholders use the verification system, and be notified             verifying the telephone number if the submitted verifi-
   when certain suspect transactions occur, such as charging 55                 cation code is the same as the communicated verifi-
   more than S500.00 in a single transaction, in order to limit the             cation code;
   financial liability to the credit card company.                        completing a registration of the user based on the received
      The business can choose to implement the verification                  information and verified telephone number, wherein the
   system of the present invention with a call delay capability.             completed registration enables the user to access the
   This allows the consumer to choose when to receive the 60                 service;
   verification phone call. The business may allow the consumer           maintaining a record of one or more notification events
   to choose from various options, including, call in 10 minutes,            associated with actions that require acknowledgement
   call every 5 minutes if the line is busy, call every 10 minutes           by the user;
   for up to three attempts, call me now, etc., during the regis-         upon receiving an indication of an occurrence of an estab-
   tration process, or even during the notification process if the 65        lisped notification event, transmitting a message
   line is busy. This can be established during the registration             addressed to the verified telephone number indicating
   process, as decided between the consumer and the business                 the occurrence of the notification event; and




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      receiving, from the user, an acknowledgement of an action               verifying the telephone number if the submitted verifi-
         associated with the established notification event.                     cation code is the same as the communicated verifi-
      2. The method of claim 1, wherein the telephone number is                  cation code;
   associated with a mobile phone.                                         completing a registration of the user based on the received
      3. The method of claim 1, wherein the notification event is 5           information and verified telephone number, wherein the
                                                                              completed registration enables the user to access the
   a transaction.
                                                                              service;
      4. The method of claim 1, wherein the notification event is          maintaining a record of one or more notification events
   established by a party associated with the service.                        associated with actions that require acknowledgement
      5. The method of claim 1, wherein the notification event is             by the user;
                                                                      o
   associated with activity related to a financial account associ-         upon receiving an indication of an occurrence of an estab-
   ated with the user.                                                        lished notification event, transmitting a message
      6. The method of claim 1, wherein the notification event is             addressed to the verified telephone number indicating
   associated with a request to alter an account of the user.                 the occurrence of the notification event; and
      7. The method of claim 1. further comprising charging a fee 15       receiving, from the user, an acknowledgement of an action
                                                                              associated with the established notification event.
   to the user based at least in part on the user being notified of
   the occurrence of the established notification event.                   11. The method of claim 10, wherein the telephone number
      8. The method of claim 1, wherein the message indicating          is associated with a mobile phone.
   the occurrence of the notification event is an SMS message.             12. The method of claim 10, wherein the notification event
      9. The method of claim 1, further comprising associating 20 is a transaction.
   the telephone number with data indicating that the telephone            13. The method of claim 10, wherein the notification event
   number is verified.                                                  is established by a party associated with the service.
      10. A non-transitory computer-readable storage medium                14. The method of claim 10, wherein the notification event
   containing instructions that, when executed by a processor,          is associated with activity related to a financial account asso-
   cause the processor to perform a method of verification and 25 ciated with the user.
   notification, the method comprising,                                    15. The method of claim 10, wherein the notification event
      receiving, from a user, information via a computing inter-        is associated with a request to alter an account of the user.
                                                                           16. The method of claim 10, further comprising charging a
         face presented to the user as a result of an attempt by the
         user to access a service, the received information includ-     fee to the user based at least in part on the user being notified
         ing a telephone number associated with the user;               of the occurrence of the established notification event.
                                                                     30    17. The method of claim 10, wherein the message indicat-
      verifying the telephone number by:
         establishing a telephonic connection with the user using       ing the occurrence of the notification event is a short message
            the received telephone number;                              service (SMS) message.
         communicating a verification code to the user through             18. The method of claim 10, further comprising associating
            the telephonic connection;                                  the telephone number with data indicating that the telephone
         receiving, via the computing interface, a submitted veri- 35 number is verified.
           fication code that is entered by the user; and




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